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            1   KAPETAN BROTHERS
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            2   Fresno, CA 93721-1806
                Telephone: (559) 498-0800
            3
            4   Marc N. Kapetan, #158322
            5   Attorneys for:   ROBERT HERNANDEZ
            6
            7
                                         IN THE UNITED STATES DISTRICT COURT
            8
                                      FOR THE EASTERN DISTRICT OF CALIFORNIA
            9
           10                                                       Case No. 1:06CR00284-12 OWW
                UNITED STATES OF AMERICA,
           11
                                 Plaintiffs,
           12                                                       STIPULATION AND ORDER RE:
                        v.                                          CONTINUANCE OF SENTENCING
           13
                ROBERT HERNANDEZ,
           14
                                 Defendant.
           15
           16
                        IT IS HEREBY STIPULATED by and between Defendant, ROBERT HERNANDEZ,
           17
                by and through his Attorney of Record, MARC N. KAPETAN, and KEVIN ROONEY,
           18
           19   Assistant United States Attorney, that the Status Conference in this matter be continued as set

           20   forth below:

           21           Current Date for Sentencing Hearing: - - - - - - - May 14, 2007, at 1:30 p.m.
           22
                        Current Date to File Objections with Court: - - - May 7, 2007
           23
                        Requested Date for New Sentencing Hearing: - - June 25, 2007, at 1:30 p.m.
           24
                        Requested Date to File Objections with Court: - June 11, 2007
           25
           26           This continuance is requested by counsel for Defendant, MARC N. KAPETAN.

           27   Furthermore, this continuance is requested to provide additional time for defense Counsel to
           28
                research and prepare Objections to the Presentence Investigation Report filed with the Court on

                March 30, 2007, and to file any other relevant in regard to the Sentencing Hearing.
                                                                1
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                        Counsel for Defendant has spoken with Assistant U.S. Attorney, Kevin Rooney, who
            1
                concurs in the request for this continuance.
            2
            3           The parties agree that time shall be excluded, pursuant to 18 U.S.C. §3161 (h) (8) (B)

            4   (iv).

            5
                DATED: May 7, 2007.                            KAPETAN BROTHERS
            6
            7
            8
                                                               By: /s/ Marc N. Kapetan
            9                                                        Marc N. Kapetan,
                                                                     Attorney for Defendant, JOHN AIRHEART
           10
           11
           12   DATED: May 7, 2007                             By: /s/ Kevin Rooney_______________________
                                                                    Kevin Rooney
           13                                                       Assistant U.S. Attorney
           14
           15
                IT IS SO ORDERED.
           16
           17
           18   DATED: 5/8/07                                   /s/ Oliver W. Wanger
                                                                OLIVER W. WANGER
           19                                                    Judge, U.S. District Court
           20
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